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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION


 CASA, INC. and MAKE THE ROAD NEW
 YORK

          Plaintiffs,
                                                   Case No. 8:25-cv-00525-GLR
 v.

 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, and
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY

          Defendants.

      PLAINTIFFS’ REPLY IN SUPPORT OF REQUEST FOR EXPEDITED HEARING

         On March 5, 2025, pursuant to Local Rule 105(6) and Federal Rule of Civil Procedure 57,

Plaintiffs filed a Request that the Court order an expedited hearing on their Motion for Partial

Summary Judgment (ECF No. 8) (“MPSJ”) in light of the upcoming April 7, 2025 date on which

the Vacatur and Termination challenged in this case will become effective. See ECF No. 25.

Defendants appear to have construed this Request as a “Motion for Expedited Hearing” and filed

a brief in opposition. See ECF No. 27 (the “Stay Motion”). To the extent it is so construed,

Plaintiffs offer this brief Reply:

      1. Plaintiffs’ Request that the Court schedule an expedited hearing is now fully briefed and

         Plaintiffs respectfully ask the Court to act upon it. Absent delay or foot dragging by

         Defendants, there is ample time for the issues properly before the Court to receive a full

         and fair hearing before April 7, 2025:
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       a. Plaintiffs have not asked the Court to expedite or in any way curtail the time

           provided under the Local Rules for Defendants to respond to the MPSJ. Under

           Rule 105(2), and Plaintiffs’ commitment to shorten their own time to reply, that

           motion will be fully briefed by March 24, 2025—more than two full weeks before

           TPS for Venezuelans who benefit from the 2023 Designation is set to end.

       b. Defendants’ Motion to Stay this case (ECF No. 27) and Plaintiffs’ Cross-Motion to

           Stay Agency Action under 5 U.S.C. § 705 (being filed concurrently herewith) will

           also be fully addressed by Defendants, without any modification of the schedule,

           by March 24, 2025. While Plaintiffs reserve the right to file a reply in further

           support of their request for relief under 5 U.S.C. § 705, because that motion seeks

           relief that would only be relevant if summary judgment is not granted before April

           7, 2025, Plaintiffs consent to the Court scheduling a hearing and addressing all

           pending motions at the Court’s convenience any time after March 24, 2025.

2. For their part, Defendants offer no reason that Plaintiffs’ request for an expedited hearing

   on the MPSJ should be rejected:

       a. Defendants fail to address the upcoming April 7, 2025 date at all, nor do they

           address the substance of the obvious prejudice that would accrue to Plaintiffs if the

           challenged unlawful action is left to stand simply because this litigation is

           proceeding slowly. See also Plaintiff’s Opposition to Stay and Cross Motion for a

           Stay of Agency Action (the “Cross Motion”), ECF No. 29-1 at 19–23.

       b. Defendants ignore the actual scope of the MPSJ, which is a purely facial challenge

           to action disclosed in the Federal Register: the MPSJ requires no “factual record,”

           “fulsome briefing,” or “certified administrative record,” Stay Motion at 4–5,




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     because there could be nothing in the facts or record that Defendants would create

     that could alter the statutory terms that render Defendants’ actions facially

     unlawful. See MPSJ.

  c. Defendants indicate an intent to challenge the Court’s subject matter jurisdiction

     and state that they “may” challenge Plaintiffs’ standing, Stay Motion at 4–5, but

     offer no reason that they cannot make whatever arguments they want on those

     topics in response to the MPSJ. In other words, Defendants offer up supposed

     reasons they believe the motion should be denied, not reasons that it should not be

     heard expeditiously. See ECF No. 29-1 at 15–19.

  d. Defendants do not assert that they are unable to file a response to the MPSJ by

     March 17, 2025, nor could they in light of their having already briefed many of

     these same issues in parallel litigation in the Northern District of California—a fact

     that Defendants fail to disclose. See Defs.’ Resp. in Opp’n to Pls.’ Mot. to Postpone

     Effective Date of Agency Action, Nat’l TPS All. v. Noem, No. 3:25-cv-1766-EMC

     (N.D. Cal. Mar. 3, 2025), ECF No. 60.

  e. Defendants concede that Plaintiffs’ MPSJ is procedurally proper. See Stay Motion

     at 6; see also MPSJ at 16–17; Local Rule 103(9) (exempting cases “in which

     ordinarily discovery is not conducted” from Fed. R. Civ. P. 16(b)). Nor is there

     any merit to their criticism of Plaintiffs for seeking an early hearing. See Fed. R.

     Civ. P. 57 (“The court may order a speedy hearing of a declaratory-judgment

     action.”); see also id. Advisory Committee’s Notes to 1937 Amendment (a

     declaratory judgment often arises “on undisputed or relatively undisputed facts . . .

     justifying docketing the case for early hearing as on a motion”).




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   3. Concurrently, Plaintiffs are filing an Opposition to Defendants’ Motion to Stay and a

       Cross-Motion for a Stay of Agency Action under 5 U.S.C. § 705. See ECF No. 29-1. The

       utter lack of merit to Defendants’ contentions, the extreme prejudice to delay, and the

       further justifications for urgent judicial intervention are addressed in more detail in that

       submission.

   4. Plaintiffs’ accordingly request that the Court schedule a hearing at its earliest convenience

       after March 24, 2025.

Date: March 10, 2025

Respectfully submitted,

                                             CLEARY GOTTLIEB STEEN & HAMILTON LLP

                                             By:    /s/ Nowell D. Bamberger
                                                    Nowell D. Bamberger (21111)
                                                    Matthew D. Slater (05582)
                                                    Rathna J. Ramamurthi (pro hac vice)
                                                    Madeline Hundley (pro hac vice)
                                                    Gillian Isabelle (pro hac vice)
                                                    Ava Kazerouni (pro hac vice)
                                                    2112 Pennsylvania Ave NW
                                                    Washington, D.C. 20037
                                                    Tel. (202) 974-1500
                                                    Fax (202) 974-1999
                                                    nbamberger@cgsh.com
                                                    mslater@cgsh.com
                                                    rramamurthi@cgsh.com
                                                    mhundley@cgsh.com
                                                    gisabelle@cgsh.com
                                                    akazerouni@cgsh.com

                                             WASHINGTON LAWYERS’ COMMITTEE FOR CIVIL
                                             RIGHTS AND URBAN AFFAIRS

                                                    Ryan Downer (pro hac vice)
                                                    Sarah L. Bessell (30969)
                                                    Madeleine Gates (seeking admission to
                                                    D.Md.)
                                                    Ellie M. Driscoll (pro hac vice)
                                                    700 14th St. #400


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                                    Washington, D.C. 20005
                                    Tel. (202) 319-1000
                                    Fax (202) 319-1010
                                    ryan_downer@washlaw.org
                                    sarah_bessell@washlaw.org
                                    madeleine_gates@washlaw.org
                                    ellie_driscoll@washlaw.org

                              CASA, INC.

                                    Nicholas Katz, Esq. (21920)
                                    8151 15th Avenue
                                    Hyattsville, MD 20783
                                    Tel. 240-491-5743
                                    nkatz@wearecasa.org

                             MAKE THE ROAD NEW YORK

                                    Harold A. Solis (pro hac vice)
                                    Paige Austin (pro hac vice)
                                    301 Grove Street
                                    Brooklyn, NY 11237
                                    Tel. (718) 418-7690
                                    Fax (866) 420-9169
                                    harold.solis@maketheroadny.org
                                    paige.austin@maketheroadny.org


                             Attorneys for Plaintiffs




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